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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :    Chapter 11
                                                       :
Aralez Pharmaceuticals US Inc., et al.,1               :    Case No. 18-12425 (MG)
                                                       :
                           Debtors.                    :    (Jointly Administered)
-------------------------------------------------------x

            ORDER EXTENDING DEBTORS’ EXCLUSIVE PERIODS
      IN WHICH TO FILE CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES
     THEREOF PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE

                 Upon the motion (the “Motion”)2 of the debtors and debtors in possession in the

above-captioned cases (collectively, the “Debtors”) for entry of an order, pursuant to section

1121(d) of title 11 of the United States Code, as supplemented by Rule 9006(b)(1) of the Federal

Rules of Bankruptcy Procedure, extending the Debtors’ exclusive periods to file a plan of

reorganization and to solicit acceptances thereof; and due and sufficient notice of the Motion

having been given as set forth in the Motion; and it appearing that no other or further notice need

be provided; and the Court having found and concluded that the Debtors have established

sufficient cause to extend their Exclusive Periods as provided herein; and it appearing that the

relief requested by the Motion and granted herein is in the best interests of the Debtors’ estates,

their creditors and other parties in interest, it is hereby




1
        The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal taxpayer
        identification number are as follows: Aralez Pharmaceuticals Holdings Limited (5824); Aralez
        Pharmaceuticals Management Inc. (7166); POZEN Inc. (7552); Aralez Pharmaceuticals Trading DAC
        (1627); Aralez Pharmaceuticals US Inc. (6948); Aralez Pharmaceuticals R&D Inc. (9731); Halton
        Laboratories LLC (9342). For purposes of these chapter 11 cases, the Debtors’ mailing address is Aralez
        Pharmaceuticals, c/o Prime Clerk LLC, P.O. Box 329003, Brooklyn, NY 11232.
2
        Capitalized terms used but not defined herein have the meanings given to them in the Motion.
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               ORDERED that:

               1.      The Motion is granted to the extent provided herein.

               2.      The Debtors’ Exclusive Filing Period shall be extended by sixty (60) days

through and including February 6, 2019.

               3.      The Debtors’ Exclusive Solicitation Period shall be extended by sixty (60)

days through and including April 8, 2019.

               4.      The entry of this Order is without prejudice to the rights of the Debtors to

request further extensions of the Exclusive Periods under section 1121 of the Bankruptcy Code

or to seek other appropriate relief.

               5.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

               6.      All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

               7.      This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation or interpretation of this Order.




IT IS SO ORDERED.
Dated: December 11, 2018
       New York, New York

                                              _____/s/ Martin Glenn_______
                                                     MARTIN GLENN
                                              United States Bankruptcy Judge




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